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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Southern District
                                                   __________  DistrictofofNew York
                                                                            __________

                                                                    )
TRADEBLOC INC and TIMOTHY DWIGHT                                    )
CLARK                                                               )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 1:24-cv-02268
                                                                    )
                                                                    )
DYNASTY CAPITAL 26, LLC; UNLIMITED                                  )
CAPITAL LLC; and CHANAN FUZAILOV                                    )
and VLADIMIR KAMINSKY                                               )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Dynasty Capital 26, LLC c/o New York Secretary of State
                                           One Commerce Plaza, 99 Washington Avenue, 6th Floor, Albany, New York 12231
                                           and
                                           Dynasty Capital 26, LLC, 96-14 Metropolitan Avenue, 2nd Floor
                                           Forest Hills, New York 11375



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Shane R. Heskin, Esquire
                                           WHITE and WILLIAMS, LLP
                                           7 Times Square, Suite 2900
                                           New York, New York 10036-6524
                                           Email: heskins@whiteandwilliams.com
                                           Phone (215) 864-6329

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT

           03/27/2024                                                                               /S/ V. BRAHIMI
Date:
                                                                                         Signature of Clerk or Deputy Clerk
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 Civil Action No. 1:24-cv-02268

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
